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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3, on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,

                        Plaintiffs,                           Case No. 4:21-cv-01236-O

         v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                        Defendants.


  [PROPOSED] ORDER GRANTING MOTION FOR CLASS CERTIFICATION AND
                 APPOINTMENT OF CLASS COUNSEL

       On January 25, 2022, Plaintiffs filed this Motion for Class Certification and Appointment

of Class Counsel. Having considered Plaintiffs’ motion, any responses thereto filed by the

Defendants, and any replies thereto filed by Plaintiffs, the Court finds that the requirements of Fed.

R. Civ. P. 23 are satisfied and the motion should be granted.

       IT IS HEREBY ORDERED:

       1.      Plaintiffs’ Motion for Class Certification is GRANTED.

       2.      This action shall proceed as a class action with the members of the Class and

Subclasses consisting of:
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       All members of the United States Navy who are subject to the Navy’s COVID-19 Vaccine
       Mandate and who have submitted a Religious Accommodation request concerning the
       Navy’s COVID-19 Vaccine Mandate (“Navy Class”);

       All members of the Navy Class who are now or will be assigned to Naval Special Warfare
       or Naval Special Operations, who are subject to the Navy’s COVID-19 Vaccine Mandate,
       and who have submitted a Religious Accommodation request concerning the Navy’s
       COVID-19 Vaccine Mandate (“Naval Special Warfare/Operations Subclass”); and

       All members of the Navy Class who are now or will be United States Navy SEALs, who
       are subject to the Navy’s COVID-19 Vaccine Mandate, and who have submitted a
       Religious Accommodation request concerning the Navy’s COVID-19 Vaccine Mandate
       (“Navy SEALs Subclass”).

       3.     The following Named Plaintiffs are appointed as class representatives of the Navy

Class and the Naval Special Warfare/Operations Subclass:

              a.   United States Navy SEAL 1;
              b.   United States Navy SEAL 2;
              c.   United States Navy SEAL 3; and
              d.   United States Navy Explosive Ordnance Disposal Technician 1.

       4.     The following Named Plaintiffs are appointed as class representatives of the Navy

SEALs Subclass:

              a. United States Navy SEAL 1;
              b. United States Navy SEAL 2; and
              c. United States Navy SEAL 3.

       5.     The following attorneys are appointed as co-counsel for the class:

              a. Hacker Stephens LLP; and
              b. attorneys from First Liberty Institute, a non-profit organization with its office
                 in Plano, Texas.


SO ORDERED this               day of                        2022.




                                            REED O’CONNOR
                                            UNITED STATES DISTRICT JUDGE
